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                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION

 DONNY PHILLIPS,

          Plaintiff,

 vs.                                            Case No.: 4:18-cv-00139-AW-MJF

 MARK S. INCH, CENTURION OF
 FLORIDA, LLC, et al,

          Defendants.

           NOTICE OF SETTLEMENT AS TO LINDA CORT ONLY

        Pursuant to Local Rule 16.2(A)(1), Defendant Nurse Linda Cort hereby gives

notice that the remaining claim pending against her in this matter settled this afternoon.

Counsel for Plaintiff and Nurse Cort anticipate filing a joint stipulation for dismissal

of Nurse Cort in the near future. This notice is submitted so that the Court might avoid

further judicial labor associated with Plaintiff’s sole remaining claim against Nurse

Cort.

                                 Respectfully submitted,

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                                Attorneys for Defendant Nurse Linda Cort


                         CERTIFICATE OF SERVICE
       I hereby certify that on January 28, 2022, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system which will send notification of
such to all counsel of record.


                                          /s/ Brian A. Wahl
                                           Brian A. Wahl
                                           One of the Attorneys for Defendant Nurse
                                           Linda Cort




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